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  5
      Counsel for DORIS A. KAELIN,
  6   Trustee in Bankruptcy

  7

  8                              UNITED STATES BANKRUPTCY COURT

  9                               NORTHERN DISTRICT OF CALIFORNIA

 10                                          SAN JOSE DIVISION

 11   In re                                                 Case No. 18-50398 MEH
                                                            Chapter 7
 12                                                         Hon. M. Elaine Hammond
              TECHSHOP, INC.,
 13                                                         OBJECTION TO CLAIM 222
                     Debtor.                                (Pierre Leon Pellissier)
 14

 15                                                         [No Hearing Required Unless Requested]

 16

 17

 18
      TO PIERRE LEON PELLISSIER:
 19

 20           PLEASE TAKE NOTICE THAT Doris Kaelin, Chapter 7 Trustee (“Trustee”) of the estate
 21   of TechShop, Inc. (“Debtor”), files this objection to Claim 222 filed by Pierre Leon Pellissier
 22   (“Claimant”) on July 26, 2018 as a general unsecured claim in the amount of $25,000 (“Claim”). A
 23   true and correct copy of the Claim is attached hereto as Exhibit A. If the Trustee’s objection is
 24   sustained, the Claim will be disallowed in its entirety.
 25           The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on February
 26   26, 2018 (“Petition Date”). Prior to the Petition Date, the Debtor operated approximately ten do-it-
 27   yourself fabrication shops in California, Texas, Detroit, Arizona and other locations in the United
 28   States. The Debtor operated all of its do-it-yourself fabrication shops as separate legal entities, with

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  1   names such as: “TechShop SoMA LLC,” “TechShop Peninsula LLC,” “Tech Shop Mid-Peninsula

  2   LLC,” “TechShop San Jose LLC,” “TechShop Los Angeles LLC,” “TechShop Detroit LLC,”

  3   “TechShop Arlington LLC,” “TechShop St. Louis LLC,” and “TechShop New York LLC”

  4   (collectively, the “LLCs”). Each of these limited liability companies are separate, distinct entities

  5   from the Debtor. The LLCs incurred liabilities and obligations to third parties, which liabilities and

  6   obligations are not debts of the Debtor. The assets of the LLCs are not part of the Debtor’s

  7   bankruptcy estate.

  8          The Trustee has reviewed the Claim. The Claim includes a reference for the basis of the

  9   Claim as “Investment.” The Debtor’s bankruptcy schedules, filed under penalty of perjury, list

 10   Claimant as “Notice Only re Techshop Subsidiary LLC Customer.” A copy of a page from the

 11   Debtor’s sworn schedules reflecting the above is attached hereto as Exhibit B.

 12          Based on the information available to the Trustee, including the Debtor’s sworn schedules,

 13   the Trustee has concluded that the sum sought by Claimant is an obligation of an entity other than

 14   the Debtor, and is not an obligation of the estate.

 15          WHEREFORE, the Trustee prays for an order, as follows:

 16          1.      Disallowing in its entirety Claim 222 filed by Pierre Leon Pellissier as a general

 17   unsecured claim in the amount of $25,000, on the grounds that it is not an obligation of the Debtor;

 18   and

 19          2.      For such other relief as the Court deems just and appropriate.

 20

 21   DATED: April 9, 2021                  RINCON LAW LLP

 22

 23
                                            By: /s/ Gregg S. Kleiner
 24                                             GREGG S. KLEINER
                                                Counsel for DORIS A. KAELIN,
 25                                             Trustee in Bankruptcy
 26

 27

 28

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 Fill in this information to identify the case:
                                                                                                                                  FILED
 Debtor 1 TechShop, Inc.                                                                                                 U.S. Bankruptcy Court
                                                                                                                      Northern District of California
 Debtor 2
 (Spouse, if filing)                                                                                                              7/26/2018
 United States Bankruptcy Court           Northern District of California                                              Edward J. Emmons, Clerk
 Case number: 18−50398


Official Form 410
Proof of Claim                                                                                                                                          04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Techshop, Inc.
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Techshop, Inc.

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  P.O. Box 1582
                                  Santa Cruz, CA
                                  95061
                                  Santa Cruz, CA 95061

                                  Contact phone              831 600−8093                        Contact phone

                                  Contact email         dktrustee@gmail.com                      Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                  MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




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                                                                                                                                EXHIBIT A
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      25000.00                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death,
  the claim?                  or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                        Investment


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                 page 2




          Case 18-50398            Claim 222           Filed 07/26/18              Desc Main Document                    Page 2 of 3
                                                                                                                              EXHIBIT A
  Case: 18-50398              Doc# 340            Filed: 04/09/21                 Entered: 04/09/21 05:49:46                     Page 4 of 6
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $2,850* of deposits toward purchase, lease, or rental of                     $
    lawl imits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $12,850*) earned within                     $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                         $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                    $

                                         * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                7/26/2018

                                                                 MM / DD / YYYY


                                 /s/ Pierre Leon Pellissier

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                      Pierre Leon Pellissier

                                                                           First name      Middle name          Last name
                                 Title

                                 Company

                                                                           Identify the corporate servicer as the company if the authorized agent is a
                                                                           servicer
                                 Address                                   1299 Settle Ave.

                                                                           Number Street
                                                                           San Jose, CA 95125

                                                                           City State ZIP Code
                                 Contact phone             4089135605                           Email         Pierre@pellissier.org


Official Form 410                                                      Proof of Claim                                                   page 3




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 Debtor       TechShop, Inc.                                                                          Case number (if known)
              Name

 3.996
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phyllis Schmit                                                        Contingent
          19992 Rodrigues Ave                                                   Unliquidated
          Cupertino, CA 95014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phyllis Singer                                                        Contingent
          1808 Sharwood Place                                                   Unliquidated
          Crofton, MD 21114                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierce Young                                                          Contingent
          13802 Turbine Dr.                                                     Unliquidated
          Austin, TX 78728                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Coeurdeuil                                                     Contingent
          1422 Funston Ave.                                                     Unliquidated
          San Francisco, CA 94122                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Andrada                                                        Contingent
          355 Buena Vista Avenue East #312W                                     Unliquidated
          San Francisco, CA 94117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Capeder                                                        Contingent
          290 Amber Drive                                                       Unliquidated
          San Francisco, CA 94131                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pierre Pellissier                                                     Contingent
          1299 Settle Ave.                                                      Unliquidated
          San Jose, CA 95125                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only re Techshop Subsidiary LLC Customer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1519 of 1961
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                                                                                                                                                   EXHIBIT B
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